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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

DIANE RHONE,                                            )
                                                        )
            Plaintiff                                   )       Civil Action File No.
vs.                                                     )       1:16-cv-05215
                                                        )
MEDICAL BUSINESS BUERAU, LLC,                           )
                                                        )
Defendant.                                              )
                                                        )

                 DEFENDANT’S RESPONSE IN OPPOSITION TO PLAINTIFF’S
                      MOTION FOR ATTORNEYS’ FEES AND COSTS

            Defendant Medical Business Bureau, LLC (“MBB”) opposes Plaintiff Diane Rhone’s

(“Rhone”) Motion for Attorneys’ Fees and Costs as follows:

      I.        Introduction

      On October 25, 2017, this Court granted in part and denied in part both MBB and Rhone’s

motions for summary judgment. See D.E. 70. On the same date, this Court ordered that Rhone

file her motion for attorney’s fees and costs. See id. On November 20, 2017, Rhone filed her

motion for attorneys’ fees. See D.E. 80.

      This district is all too familiar with Rhone’s counsel and their billing tactics. As explained in

more detail below, in numerous cases, Rhone’s attorneys’ requested hourly rate has been rejected

and their hours have been reduced substantially. A similar outcome is warranted here as Rhone

has failed to produce any evidence supporting her attorneys’ requested rates and has failed to

demonstrate that the hours requested are reasonable.

      II.       Rhone Failed to Produce Evidence Supporting Her Attorneys Requested Rates.

      The first step in the reasonable attorney award fee is determining the attorneys’ hourly rates.

The burden of establishing the rate is on the plaintiff. Evans v. Portfolio Recovery Assocs., LLC,


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2017 U.S. Dist. LEXIS 108037, * 4 (N.D. Ill. July 12, 2017). If the plaintiff fails to carry this

burden then the Court has authority to determine the reasonable rate. Stockman v. Global Credit

& Collection Corp., 2015 U.S. Dist. LEXIS 111113, *6 (N.D. Ill. Aug. 21, 2015) (quoting Pickett

v. Sheridan Health Care Ctr., 664 F.3d 632, 640 (7th Cir. 2011)).

      This district has held that the following is a list of sufficient evidence to prove an attorney’s

reasonable hourly rate:

      -   The attorney’s actual billing for similar work,

      -   Evidence of rates of similarly experienced attorneys in the community charged paying

          clients for similar work, and

      -   Evidence of fee awards the attorney has received in similar cases.

Id. (quoting Johnson v. GDF, Inc., 668 F. 3d 927, 933 (7th Cir. 2012)). The Seventh Circuit,

however, has stressed that the “best measure of the cost of an attorney’s time is what that attorney

could earn from paying clients.” Gusman v. Unisys Corp., 986 F. 2d 1146, 1150 (7th Cir. 1993).

What another person is willing to pay “establishes the market’s valuation of the attorney’s

services.” Id.; see also Mathur v. Bd. of Trs. of S. Univ., 317 F.3d 738, 743 (7th Cir. 2013) (finding

the best evidence of the market rate is the hourly rate the attorneys receive from paying clients for

similar services).

          Here, hourly rates for three attorneys are sought as follows:

      -   Celetha Chatman: $3351

      -   Michael Wood: $3722



1
    Ms. Chatman has been practicing just barely over two years.
2
 Mr. Wood has been practicing just barely over three and a half years. It should be noted that
defense counsel has been practicing with a focus on defending consumer litigation, such as the
FDCPA case at issue, for many more years than Plaintiff’s counsel and their rates are substantially
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    -   Andrew Finko: $450

    As “evidence” in support of these requested rates, declarations from each of the attorneys were

provided. As this Court has already told both Wood and Finko, however, an attorney’s “self-

serving affidavit” cannot by itself satisfy the plaintiff’s burden of establishing the market rate.

Evans, 2017 U.S. Dist. LEXIS 108037, *5 (N.D. Ill. July 12, 2017). Indeed, that an attorney

believes the claimed rates to be reasonable is of no value to this Court’s analysis. See Kaylor-

Trent v. John C. Bonewicz, P.C., 916 F. Supp. 2d 878, 885 (C.D. Ill. 2013) (giving no weight to

affidavit of local attorney that he is aware of prevailing rates for consumer protection law attorneys

in that area and that the rates plaintiff’s attorneys sought are reasonable); Elusta v. City of Chicago,

760 F. Supp. 3d 792, 798 (N.D. Ill. 2010) (finding affidavit stating that the rates sought were

reasonable of little use to the court); Soleau v. Illinois Dept. of Transp., 2011 U.S. Dist. LEXIS

64814, at *8 (N.D. Ill. June 9, 2011) (that an affiant believes the time spent and billing rates used

in the case are reasonable is insufficient to support a requested rate).

    Notably, Rhone has utterly failed to produce any evidence of the actual rate paid to her

attorneys for similar work. Only Wood provides any evidence of what he charges paying clients.3

That evidence is insufficient, however, as Wood merely provided invoices related to a foreclosure

defense case and bankruptcy filing.4 See D.E. 80-2. Clearly, those two cases are not similar to the




lower than Plaintiff’s counsel. For example, Nicole Strickler has been practicing in this area for
almost nine years and charges paying clients only $350/hr.; while Katherine Olson has almost five
and a half years of experience and charges paying clients a rate of $295/hr. Both Ms. Strickler and
Ms. Olson practice primarily in this district.
3
  Finko testified that his current clients pay his $450 rate and directed the Court to an exhibit
attached to his declaration as evidence. However, no such exhibit was filed with the Court.

4
 Moreover, the rate purportedly paid in the bankruptcy case was less than that sought here. See
D.E. 80-2.
                                                   3
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FDCPA case at bar. Since those cases are unrelated to the case at bar, and as this Court has told

Wood on at least two separate occasions, that evidence does not provide any “significant weight.”

Stockman v. Global Credit & Collection Corp., 2015 U.S. Dist. LEXIS 111113, *7-8 (N.D. Ill.

Aug. 21, 2015); Farooq v. Portfolio Recovery, LLC, 2016 U.S. Dist. LEXIS 66180, *6 (N.D. Ill.

May 19, 2016). Indeed, when the very same evidence was presented in an FDCPA case in this

district, the court rejected same finding that “these invoices do not establish that the hourly rates

[plaintiff] has requested for Wood and Finko represent their actual billing rates for similar work.”

See Evans, 2017 U.S. Dist. LEXIS 108037 at *6 (emphasis added). Rhone also fails to provide

any evidence as to what similarly experienced attorneys within this district charge paying clients

for similar work. The only discussion of rates is that of Rhone’s three attorneys.

    Lastly, Rhone also fails to produce any evidence showing that her attorneys have actually been

awarded the requested rates. Rhone argues that courts have awarded her attorneys each of their

requested rates; however, the undersigned counsel has not found any FDCPA case where any of

Rhone’s attorneys have been awarded the rates they are currently seeking.5 Rhone’s three

attorneys routinely inflate their “reasonable” hourly rate only to have this district award a lower

hourly rate. See Stockman v. Global Credit & Collection Corp., 2015 U.S. Dist. LEXIS 111113

(N.D. Ill. Aug. 21, 2015); Farooq v. Portfolio Recovery, LLC, 2016 U.S. Dist. LEXIS 66180 (N.D.

Ill. May 19, 2016); Holloway v. Portfolio Recovery Associates, LLC, United States District Court

for the Northern District of Illinois, Civil Action File No. 1:15-cv-11568, Doc. 31 June 6, 2016;

Evans, 2017 U.S. Dist. LEXIS 108037 (N.D. Ill. July 12, 2017). For example, most recently this



5
  Wood contends that he was awarded $372 an hour in Serrano v. Alliant Capital Management,
LLC, et al. Case No. 16-cv-08602 (N.D. Ill.). That was a default judgment case, and the hourly
rate was never contested. See id. Moreover, a cursory review of Wood’s affidavit and fee
documents in that case show that Mr. Wood only sought $352/hr. in that case and that Ms. Chatman
only sought $315/hr. See id. at D.E. 11-1.
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district reduced the claimed rates of Wood and Finko and held that $300 an hour was reasonable

for Wood and $415 an hour was reasonable for Finko. See Evans, 2017 U.S. Dist. LEXIS 108037

at *7 - 8.

    Because Rhone has failed to carry her burden of establishing the reasonable rate, this Court

has authority to determine the reasonable rate for Rhone’s attorneys. MBB proposes the following

rates for Rhone’s attorneys:

    -      Celetha Chatman: $263

    -      Michael Wood: $300

    -      Andrew Finko: $415

These rates are based on the most recent case determining fees charged by Rhone’s counsel –

Evans. Similar to this case, the Evans case was litigated through summary judgment. In Evans,

the court analyzed both Mr. Finko and Mr. Wood’s rates and held that the above suggested rates

were reasonable. Although Ms. Chatman’s rate was not analyzed in that case, given the self-

imposed difference of $37 between Mr. Wood and Ms. Chatman’s requested rates in the present

petition, a similar difference of $37 can reasonably be applied here.

    III.      Rhone’s Hours Are Unreasonable and Should Be Greatly Reduced.

    The next step in the fee calculation is determining the reasonable hours incurred to prosecute

the case. In making this determination, this court is to exercise its discretion to remove any

“excessive, redundant or otherwise unnecessary” hours and is permitted to “adjust the amount up

or down to take into account various factors regarding the litigation.” Small v. Richard Wolf Med.

Instruments Corp., 264 F.3d 702, 708 (7th Cir. 2001); Mathur, 317 F.3d at 742. Notably, courts

have routinely reduced the numbers of hours awarded to Rhone’s attorneys. See e.g., Evans, 2017

U.S. Dist. LEXIS 108037 *12 (reducing by one-third the amount of time spent on discovery



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requests and reducing by half the amount of time spent on the motion for summary judgment).

Similarly here, Rhone’s attorneys should not be compensated for administrative or clerical work

or excessive, redundant or unnecessary hours.

           a. Administrative and Clerical Work

   Plaintiffs are to exercise billing judgment but when they fail to do so the court may do so for

them. See Farooq, 2016 U.S. Dist. LEXIS 66180 at * 9. The Court can exclude administrative or

clerical work performed by attorneys. Id. In the Seventh Circuit, the following tasks are

administrative in nature: document preparation, copying or faxing documents, scheduling matters,

mailing letters, sending documents to clients, drafting cover sheets and filing documents with the

court. Spegon v. Catholic Bishop of Chi., 175 F.3d 544, 553 (7th Cir. 1999); Young v. Accounts

Recovery Bureau, Inc., 2012 U.S. Dist. LEXIS 122904, at *11-12 (S.D. Ind. Aug. 8, 2012). Where

many billing entries involve administrative tasks a 30% reduction of total billing time is

appropriate. Vaughn v. Account Recovery Serv., 2015 U.S. Dist. LEXIS 111861, * 2-3 (N.D. Ill.

April 24, 2015) (“Because many of the billing entries involve administrative tasks . . . the Court

finds a 30% reduction in Plaintiff’s hours to be appropriate”). This district has applied such a

reduction to Rhone’s attorneys on at least two occasions for their failure to apply billing judgment

and including time for administrative or clerical work. In both instances, the court reduced

Rhone’s attorneys’ hours by 30%. See id.; Chatman v. Stellar Recovery, Inc., 2017 U.S. Dist.

LEXIS 34213, * 6-7 (N.D. Ill. March 10, 2017).

   Here, Rhone’s attorneys are seeking compensation at attorney rates for clearly administrative

and clerical work. As noted above, this is a billing tactic applied by Rhone’s attorneys in several

cases in order to increase their recovery. A cursory review of even just the first page of Rhone’s

billing statements demonstrates the problem:



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 Date    Time Billed Rate             Description
 5/13/16 .2          $372             Obtain Defendant’s File Detail Report from Illinois
                                      Secretary of State
 5/13/16 .2                $372       Obtain Defendant’s Collection Agency License from
                                      IDFPR
 5/13/16   .4              $372       Prepare and redact exhibits A-C
 5/13/16   .2              $372       Prepare and file attorney appearance for Michael Wood
 5/13/16   .2              $335       Prepare and file attorney appearance for Celetha Chatman
 5/13/16   1               $372       Review complaint and exhibits, compare atty notes, updates
                                      to timeline. Complaint ready for filing.
 5/13/16 .3                $372       File complaint and exhibits in Northern District of Illinois
 5/13/16 .2                $372       Prepare and file coversheet with Northern District of Illinois


These administrative and clerical tasks make up approximately 29% of all billing on the first page

of Rhone’s fee statements.        Similar entries appear repeatedly throughout Rhone’s billing

statements (MBB has refrained from reproducing those records for brevity’s sake). Each of these

tasks falls within the Seventh Circuit’s definition of administrative or clerical work. Time for such

tasks performed by attorneys should be excluded from the fee calculation. Therefore, MBB

proposes, similar to prior cases resolving Mr. Wood and Mr. Finko’s attorneys’ fees, that the hours

sought be reduced by 30% to exclude administrative and clerical work.

           b. Excessive, Redundant, and Unnecessary Time

       The Supreme Court has stated that excessive, redundant and unnecessary time should be

excluded from the fee calculation. Hensely v. Eckerhart, 461 U.S. 424, 434 (1983). The following

time is excessive, redundant or unnecessary and should be excluded: time relating to filing motion

for class certification and certain tasks related to discovery.

Class Action Time

       Rhone originally filed this case as a class action and went as far as filing a premature

motion for class certification which was stricken. See D.E. 16. Rhone ultimately abandoned her




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class claims. See D.E. 55-1, pg. 81. Even though her class claims and motion for class certification

were unsuccessful Rhone seeks recovery for time associated with same:

 Date      Time Billed     Rate       Description
 9/9/16    2               $335       Draft motion for class certification and notice to present
                                      motion on 9/27/16 at 9:00 a.m.
 9/11/16 .5                $335       Review Plaintiff’s motion for class certification, compare to
                                      complaint, rile motion
 9/26/16 .5                $335       Prepare for motion hearing on plaintiff’s motion for class
                                      certification
 9/27/16 1                 $335       Attend motion hearing


Given that Rhone was unsuccessful on the motion and her class claims, it is not appropriate for

her attorneys to receive compensation for that work. Therefore, Rhone’s hours should be reduced

by another 4 hours to exclude the time relating to the unsuccessful class certification motion.

Discovery Matters

       Rhone’s hours in drafting discovery requests and a deposition notice are also excessive.

The following is a list of all the excessive time billed regarding these matters;

 Date      Time Billed     Rate       Description
 9/26/16   1.4             $335       Draft Plaintiff’s interrogatories to Defendant
 10/6/16   1.2             $335       Draft Plaintiff’s requests to admit to Defendant
 10/6/16   1.3             $335       Draft Plaintiff’s request to produce to Defendant
 1/13/17   1.2             $335       Draft Notice of Rule 30(b)(6) deposition of Defendant
 3/2/17    2               $335       Draft, review and mail Plaintiff’s second set of requests for
                                      production of documents and interrogatories to Defendant
 4/4/17    1               $335       Draft Notice of Rule 30(b)(6) deposition of Defendant

All of this time was billed by Ms. Chatman who argues that she is an experienced FDCPA attorney.

Yet, Ms. Chatman billed 5.9 hours drafting discovery requests. Notably, these requests were

largely identical to requests prepared and served by Ms. Chatman in another case in this district.

Compare Discovery Requests propounded in Moses v. Ltd. Financial Services I, Inc., 1:16-cv-

05190 (N.D. Ill.), attached hereto as Exhibit A with D.E. 51-4, D.E. 65-4, D.E. 65-5. “Thus, it is

highly unlikely that the time recorded in this case to draft discovery requests represents the actual

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time required to minimally edit similar documents.” Evans, 2017 U.S. Dist. LEXIS 108037, at

*11 (reducing requested time for discovery requests by 1/3). It is further notable, that many of the

discovery requests drafted by Ms. Chatman related to class claims which were ultimately

abandoned, and thus should not be compensated for. Ms. Chatman also billed an additional 2.2

hours drafting a notice of deposition, which is excessive on its face. MBB proposes that Rhone

should only be awarded 4.05 hours total for the aforementioned work.

         Rhone’s attorneys are also seeking excessive time for the three depositions taken in this

case. Here are the billing entries related to the depositions:

 Date       Time Billed    Rate       Description
 2/21/17    4              $335       Take 30(b)(6) deposition of Eric Mock
 4/10/17    3.3            $450       Take 30(b)(6) deposition of Terri Blye
 4/27/17    3.3            $450       Defend Plaintiff’s deposition

The deposition transcripts show that each of these depositions took a lot less time than what

Rhone’s attorneys billed. Eric Mock’s deposition lasted one hour and forty five minutes yet Ms.

Chatman billed four hours. See D.E. 55-4, pg. 2 and 22. Terri Blye’s deposition lasted two hours

and twenty minutes yet Mr. Finko billed for three hours and eighteen minutes. See D.E. 55-3, pg.

2 and 24. Lastly, Rhone’s deposition lasted two hours and twenty minutes, yet Mr. Finko billed

for three hours and eighteen minutes. See D.E. 55-1, pg. 2 and 28. The record clearly shows that

Rhone’s billing statements are incorrect. The time billed for these tasks greatly exceed the time

the tasks actually took. MBB proposes that Rhone only be compensated for the amount of time

the actual depositions took. Therefore, MMB proposes the following hours and rates for these

tasks:

 Date       Time Billed    Rate       Description
 2/21/17    1.8            $263       Take 30(b)(6) deposition of Eric Mock
 4/10/17    2.4            $415       Take 30(b)(6) deposition of Terri Blye
 4/27/17    2.4            $415       Defend Plaintiff’s deposition


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Redundant Work

       Lastly, MBB contends that Rhone should not be compensated where two attorneys were

performing the same tasks. This is redundant time and should be excluded. The following is a list

of the duplicative work performed by Rhone’s attorneys:

 Date    Time Billed       Rate      Description
 11/4/16 2.3               $335      Receive, review and note Defendant’s answers and
                                     objections to Plaintiff’s first set of discovery requests
 11/4/16   2.4             $372      Review Defendant’s document production
 11/7/16   1               $335      Strategy Meeting MW regarding First Amended Complaint
 11/7/16   1               $372      Strategy Meeting MW regarding First Amended Complaint
 5/18/17   1.3             $335      Strategy Meeting MW regarding Motion for Summary
                                     Judgment
 5/18/17 1.3               $372      Strategy Meeting MW regarding Motion for Summary
                                     Judgment

Both Ms. Chatman and Mr. Wood were both performing the same tasks in each of the above

referenced entries. MBB proposes excluding Mr. Wood’s time for each of these entries and only

awarding Ms. Chatman’s time for the same.

       Based on the above reduction of administrative, redundant, excessive and unnecessary

time, MBB proposes the following reasonable hours along with reasonable rates:

 Attorney                Rate                     Hours                    Total
 Celetha Chatman         $263                     65.35                    $17,187.05
 Michael Wood            $300                     13.08                    $3,924.00
 Andrew Finko            $415                     10.9                     $4,523.50
                                                  Total:                   $25,634.55

                                        CONCLUSION

       Rhone failed to carry her burden of proving that her attorneys’ rates were either reasonable

or the market rates. Due to this failure, the Court can reduce the rates requested to reach a

reasonable rate. Furthermore, Rhone’s billing statements show that her attorneys hours are

unreasonable. Those records include time for administrative and clerical work along with

excessive, redundant and unnecessary time. This Court should exclude all time that falls into those

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categories. As stated above, MBB proposes that $25,634.55 is a reasonable fee for the work

performed by Rhone’s counsel in this case.

                                             Respectfully submitted,

                                             MEDICAL BUSINESS BUREAU, LLC

DATED: January 9, 2018                       /s/ Nicole M. Strickler
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of January 2018, a true and accurate copy of the

foregoing was filed with the Clerk of Court using the ECF system which will send notification of

such filing to the attorneys of record.

                                            /s/ Nicole M. Strickler
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